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 1                                                                              Hon. Robert Lasnik
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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
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 9
     UNITED STATES OF AMERICA,
10                                                      NO. CR15-348 RSL
                                Plaintiff,
11
            vs.
12                                                      ORDER GRANTING STIPULATED
     JUAN OCTAVIO SANCHES                               MOTION TO CONTINUE TRIAL AND
13
                              Defendant.                PRETRIAL MOTIONS DEADLINE
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            THE COURT, having considered the Stipulated Motion to Continue Trial and
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     Pretrial Motions Deadline filed by the parties in this matter, as well as the record and files
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20   herein, including Defendant’s written waiver of speedy trial, hereby makes the following
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     findings:
22
     1. Defense counsel and the government have conferred and believe that a trial date of
23

24      January 16, 2018 is appropriate. The parties further submit that the ends of justice
25
        served by granting this continuance outweigh the best interests of the public and the
26

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      Order Extending Pretrial                                            Hart Jarvis Chang PLLC
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                                                                        2025 First Avenue, Suite 830
      Motions Deadline--1                                                   Seattle, WA 98121
29                                                                             (206)661-1811
      US vs. Sanches (CR15-348)
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        defendant in a speedy trial. 18 U.S.C. §§ 3161(h)(7)(A), 3161(h)(7)(B)(i), (iv).
 1

 2   2. Mr. Sanches is charged in the First Superseding Indictment, returned on November
 3
        12, 2015, with Conspiracy to Distribute Controlled Substances, in violation of Title
 4
        21, United States Code, Sections 841(a)(1) and 846 (Count 1) and with Conspiracy to
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 6      Commit Money Laundering, in violation of Title 18, United States Code, Sections
 7
        1956(a)(1)(B)(i), 1956(a)(1)(B)(ii), and 1956(h).
 8

 9
     3. On April 20, 2017, Mr. Sanches was arrested in the Central District of California and

10      made his initial appearance. Following detention hearings on April 21, 2017, and
11
        April 25, 2017, Mr. Sanches was released pursuant to a cash bond with conditions.
12

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        Mr. Sanches was ordered to report to the United States District Court for the Western

14      District of Washington by May 16, 2017.
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     4. On May 16, 2017, Mr. Sanches appeared in the Western District of Washington for
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17
        his arraignment. Mr. Sanches was released pursuant to an appearance bond with

18      conditions. At his arraignment, this Court set a trial date of July 24, 2017, with a
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        motions deadline of June 6, 2017.
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     5. The motions deadline has been continued to June 24, 2017 (See Docket No. 636).

22   6. The charges in this case arise out of a lengthy wiretap investigation. As discussed in
23
        the Stipulated Motion, the case involves a significant amount of discovery.
24

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     7. Counsel for the defendant represents that his client agrees with the assessment that a

26      trial continuance is necessary in order to allow him adequate time to review the
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28
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      US vs. Sanches (CR15-348)
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        discovery, file motions, and prepare for trial, prepare and has submitted a written
 1

 2      waiver of the right to a speedy trial.
 3
     8. The Court agrees that the current schedule provides insufficient time to insure
 4
        effective motions and trial preparation, taking into account due diligence and the
 5

 6      interests of justice, within the meaning of 18 U.S.C. §§ 3161(h)(7)(B)(i), (ii), (iv).
 7
        Failure to grant a continuance in this case will deny counsel the reasonable time
 8

 9
        necessary for effective preparation of trial and other pretrial proceedings, taking into

10      account the exercise of due diligence.
11
     9. The Court further finds that the ends of justice served by granting the requested
12

13
        continuance outweigh the best interest of the public and the defendant in a speedy

14      trial.
15
     10. All these findings are made within the meaning of 18 U.S.C. §§ 3161(h)(7)(A),
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17
        3161(h)(7)(B)(i), (ii), (iv).

18   11. Accordingly, the Court hereby ORDERS that Mr. Sanches’ trial date is continued to
19
        January 16, 2018, and his pretrial motions deadline is December 6, 2017.
20

21
     12. It is further ORDERED that the period of time from the filing of the Stipulated

22      Motion to Continue until January 16, 2018 shall be excludable time pursuant to the
23
        Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A).
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                                                                        2025 First Avenue, Suite 830
      Motions Deadline--3                                                   Seattle, WA 98121
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     Done this 21st day of June, 2017.

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 6                                           A
                                             Robert S. Lasnik
 7
                                             United States District Judge
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      Order Extending Pretrial                                        Hart Jarvis Chang PLLC
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                                                                    2025 First Avenue, Suite 830
      Motions Deadline--4                                               Seattle, WA 98121
29                                                                         (206)661-1811
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